         Case: 3:22-cv-00041-DAS Doc #: 30 Filed: 06/24/22 1 of 1 PageID #: 96




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

BRYMON HAMP, JR.                                                                      PLAINTIFF

v.                                                                             No. 3:22CV41-DAS

NATHAN BURL CAIN, ET AL.                                                           DEFENDANTS

                                    ORDER OF DISMISSAL

       The court takes up, sua sponte, the dismissal of this cause. On May 18, 2022, the court

entered an order requiring the plaintiff to provide a valid mailing address for service of process

upon Dr. James Glisson. The court cautioned the plaintiff that failure to comply with the order

would result in the dismissal of this case without prejudice for failure to prosecute under Fed. R.

Civ. P. 41(b). Despite this warning, the plaintiff has failed to comply with the court’s order, and

the deadline for compliance passed on June 8, 2022. This case is therefore DISMISSED

without prejudice for failure to prosecute and for failure to comply with an order of the court

under Fed. R. Civ. P. 41(b).


       SO ORDERED, this, the 24th day of June, 2022.



                                                      /s/ David A. Sanders
                                                      DAVID A. SANDERS
                                                      UNITED STATES MAGISTRATE JUDGE
